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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   Jacksonville Division
                                  www.flmb.uscourts.gov
In re:
                                                                     Case No. 20-00837-
TIDWELL BROS. CONSTRUCTION INC.,                                     Chapter 11

                  Debtor.
_____________________________________________/

                       DEBTOR’S EMERGENCY MOTION TO USE
                      CASH COLLATERAL OF CENTENNIAL BANK

                           EMERGENCY HEARING REQUESTED

                                       Reason for Exigency

                    The Debtor requires the use of cash collateral of lender
                    Centennial Bank to continue its business operations.
                    Therefore, the Debtor moves the Court on an emergency
                    basis for interim authority to use cash collateral. The
                    Debtor respectfully requests a hearing on the next
                    available date which this Court deems appropriate.

         Pursuant to Section 363 of Title 11 of the United States Code (the “Bankruptcy Code”),

and Rule 4001 of the Federal Rules of Bankruptcy Procedure, TIDWELL BROS.

CONSTRUCTION INC., the Debtor and Debtor-in-Possession (the “Debtor”), by and through

undersigned counsel, hereby moves this Court for entry of an order authorizing its continued use

of cash collateral on which the lender Centennial Bank, (the “Lender”) alleges a first priority lien,

and to provide adequate protection to the Lender. In support of its motion, the Debtor states as

follows:

         1.     This case was commenced by the filing of a voluntary petition under Chapter 11 of

 the Bankruptcy Code on March 6, 2020 [ECF 1].

         2.     The Debtor continues to operate its business as a debtor in possession pursuant to

 sections 1107 and 1108 of the Bankruptcy Code.
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          3.      The Debtor operates a construction company, headquartered in Crystal River, FL,

    which specializes in all phases of earthwork, paving, construction, demolition, and aggregate

    production. The Debtor primarily services industrial and commercial customers, including energy

    and mining companies.

                                              The Loan Transaction

          4.      On or about October 9, 2018, Lender entered into a BusinessManager® Agreement

    with Businesses and Professionals (the “Agreement”), attached as Exhibit “A”, whereby the

    Lender would be assigned certain accounts receivable of the Debtor, and for which the Lender

    would remit 90% of the invoiced amount (only if the invoice was less than 60 days due from the

    date of purchase, or was less than 30 days past due) and then once the invoice was paid by the

    customer, the Lender would remit to the Debtor an additional 7.5% and would retain a 2.5% fee

    for its services1.

          5.      The Debtor estimates that $80,000 (the “Indebtedness”) is currently owed to the

    Lender under the Agreement.2

          6.      To secure its obligations to the Lender under the Agreement, the Debtor, according

to the UCC-1 filed by the Lender, allegedly granted the Lender a lien on “All Accounts

Receivable” (the “Collateral”).

          7.      The security interest is evidenced by the filing of a UCC-1 Financing Statement


1
  Though this appears to be a factoring agreement, the Lender had initially assured the Debtor that the Agreement was
not a factoring agreement but rather a “purchase of future receivables”, akin to a merchant cash advance agreement.
In addition, the Agreement specified that an “attached Exhibit A” had a list of invoices to be purchased, but there does
not appear to be any attached exhibits. For the purposes of this Motion, however, the Debtor is only seeking court
authority to utilize cash in its ordinary course of business, without waiving the Debtor’s right to challenge the validity,
priority, or extent of the Lender’s lien and/or claim.
2
  The Lender also has 3 vehicle loans outstanding with the Debtor: (1) a loan in the approximate amount of $90,000
for a Caterpillar excavator worth approximately $120,000, (2) a loan in the approximate amount of $58,000 for a 2007
Mack truck worth approximately $65,000, and (3) a loan in the approximate amount of $289,000 for a 2014 Sandvik
crusher worth approximately $330,000.


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with the Florida Secured Transaction Registry on August 14, 2017 at document #20170214611X,

a copy of which is attached herein as Exhibit “B”.

        8.      The cash generated by the Debtor may constitute cash collateral within the meaning

of § 363(a) of the Bankruptcy Code (the “Cash Collateral”). The Debtor requires the use of the

Cash Collateral for the continued operation of its business in the ordinary course, including

payment of expenses attendant thereto; and, the Debtor is willing to provide the Lender with

adequate protection of its secured interest in the Cash Collateral. Without the use of the Cash

Collateral, the Debtor will be forced to discontinue its business operations.

        9.      In order to (i) adequately protect the Lender in connection with the Debtor's use of

the Cash Collateral and (ii) provide the Lender with additional adequate protection with respect to

any decrease in the value of its interests in the Collateral resulting from the stay imposed under

§362 of the Bankruptcy Code or the use of the Collateral by the Debtor, the Debtor would offer as

adequate protection of the Lender’s lien a replacement lien on all cash of the Debtor generated

post-petition, plus a monthly payment of $3,000, with said payment to reduce the Indebtedness on

a dollar-for-dollar basis.

        10.     An immediate and critical need exists for the Debtor to be permitted to access the

Cash Collateral to continue to operate. Therefore, the Debtor seeks a preliminary hearing in

accordance with Rule 4001(b)(2) of the Federal Rules of Bankruptcy Procedure. At the preliminary

hearing, the Debtor will seek entry of an interim order in order to preserve the value of its assets

so as to avoid immediate and irreparable harm to the estate and to afford the Debtor the opportunity

to obtain final approval for its use of Cash Collateral, subject to and within the limits imposed by

the Budget, attached as Exhibit “C”.

        WHEREFORE, the Debtor respectfully requests an order (a) authorizing the use of the



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Cash Collateral pursuant to the terms described herein, (b) in the substantially the same form as

the attached Exhibit “D”, (c) deeming the adequate protection offered herein as sufficient, and (d)

granting such other relief as this Court deems just and proper.

       I HEREBY CERTIFY that a true and correct copy of the foregoing will be emailed to the

parties below and also furnished to all creditors and interested parties with the Notice of Hearing

on this Motion.

                                                     Respectfully submitted,

                                                     Furr Cohen, P.A.
                                                     Attorneys for the Debtor
                                                     2255 Glades Road, Suite 301E
                                                     Boca Raton, FL 33431
                                                     (561) 395-0500/(561)338-7532-fax

                                                     By: /s/Aaron A. Wernick
                                                      Aaron A. Wernick, Esq.
                                                      Florida Bar No. 14059
                                                      E-mail: awernick@furrcohen.com



Served VIA email:
Jared Ullman, Esq., attorney for the Lender
jared.ullman@uulaw.net




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                         Month Start                            3/1/20             4/1/20             5/1/20
                         Pay Weeks                                 4                  4                  5
                           Period                                  3                  4                  5
Sources of Cash
 Total Sources of Cash                                   $          260,019    $       336,505    $     1,263,114
  Duke Service Revenue
   Universal PO                                          $               -     $            -     $            -
   Service PO                                            $               -     $            -     $            -
   South Coal Yard - Crystal River                       $           95,969    $        40,782    $       344,000
   Live Oak Plant - Suwannee                             $           88,432    $        26,480    $       334,718
   FGD Ponds NC - Mayo                                   $           52,618    $       246,243    $       561,396

  Roll Off (dumpster and container services)
   General                                               $           23,000    $        23,000    $        23,000

Post Petition Secured Debt                               $           (3,000)   $       (39,092)   $       (39,092)
  Renasant Bank                                          $              -      $        (2,292)   $        (2,292)
  Comercial Credit (1 machine)                           $              -      $        (4,500)   $        (4,500)
  Lease Direct                                           $              -      $        (9,800)   $        (9,800)
  Ring Power (picked up)                                 $              -      $           -      $           -
  Centenial                                              $              -      $        (6,000)   $        (6,000)
  Centenial                                              $              -      $        (1,400)   $        (1,400)
  Centenial                                              $              -      $        (1,100)   $        (1,100)
  Cetennial (BMA)                                        $           (3,000)   $        (3,000)   $        (3,000)
  Cat Financial                                          $              -      $       (11,000)   $       (11,000)
Payroll Expenses                                         $         (117,080)   $      (117,080)   $      (117,080)
  Tony Tidwell                                           $          (15,738)   $       (15,738)   $       (15,738)
  Jamie Tidwell                                          $          (15,738)   $       (15,738)   $       (15,738)
  Darcy Tidwell                                          $           (1,389)   $        (1,389)   $        (1,389)
  Duke Labor                                             $         (102,268)   $      (102,268)   $      (102,268)
  Office Labor                                           $           (7,406)   $        (7,406)   $        (7,406)
  Roll Off Labor                                         $           (7,406)   $        (7,406)   $        (7,406)
 Payroll Fees
Overhead Expenses                                        $         (124,470)   $      (144,470)   $      (330,020)
 Accounting / Book-keeping                               $           (3,440)   $        (3,440)   $        (3,440)
 Advertising & Marketing                                 $              -      $           -      $           -
 Fuel                                                    $          (47,300)   $       (47,300)   $       (47,300)
 Bank Charges                                            $             (650)   $          (650)   $          (650)
 Sub-Contractors - Top Soil Suwannee (Starting June)
 Sub-Contractor - Mayo Trucking (Starting May)                                                    $      (165,550)
 Mayo Project - Costs to Operate                         $           (6,000)   $        (6,000)   $        (6,000)
 Insurance                                               $          (19,000)   $       (19,000)   $       (19,000)
 Truck Payments (6)                                      $          (16,500)   $       (16,500)   $       (16,500)
 Empl Reimbursements                                     $               -     $            -     $            -
 Repairs and Maintenance                                 $          (15,050)   $       (15,050)   $       (15,050)
 Office Supplies                                         $             (250)   $          (250)   $          (250)
 Rent                                                    $           (1,400)   $        (1,400)   $        (1,400)
 Utilities                                               $           (1,580)   $        (1,580)   $        (1,580)
 Travel                                                  $           (2,500)   $        (2,500)   $        (2,500)
 Telephone/Internet                                      $             (800)   $          (800)   $          (800)
 Contingency                                             $          (10,000)   $       (10,000)   $       (10,000)
 Legal - debtor's counsel - subject to court approval    $               -     $       (20,000)   $       (40,000)
Net Cash Flow                                            $           15,468    $        35,863    $       776,922
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                                           Exhibit “D”

                                      PROPOSED ORDER

                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    Jacksonville Division
                                   www.flmb.uscourts.gov
In re:
                                                                       Case No. 20-00837-
TIDWELL BROS. CONSTRUCTION INC.,                                       Chapter 11

                  Debtor.
________________________________________/

              INTERIM ORDER GRANTING DEBTOR’S MOTION TO USE CASH
                    COLLATERAL OF LENDER CENTENNIAL BANK

         THIS MATTER came before the Court on ________, 2020 at ____ _.m. in Jacksonville,

Florida upon the Debtor TIDWELL BROS. CONSTRUCTION INC.’s (the “Debtor”) Expedited

Motion to Use Cash Collateral of First Home Bank [ECF 2] (the “Motion”). Adequate notice of

the hearing was given under the circumstances. The Court, having reviewed the record and having

heard the proffers of counsel, and being otherwise fully advised in the premises, does hereby

         ORDER and ADJUDGE as follows:

         1.      The Motion is GRANTED to the extent set forth herein.

         2.      The Debtor is hereby authorized to use the Cash Collateral (as defined in the

Motion) of Centennial Bank (the “Lender”) in the manner set forth in the Motion and provided in

this Order, on an interim basis until June 1, 2020.

         3.      The Debtor is hereby permitted to use Cash Collateral, as defined in 11 U.S.C. §

363(a), including the cash or noncash proceeds of assets that were not Cash Collateral on the

Petition Date (“Cash Collateral”) up to the amounts shown in the Budget attached hereto.

         4.      As a condition of permitting the Debtor to use Cash Collateral as provided herein,



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the Debtor will operate strictly in accordance with the Budget and to spend Cash Collateral, not to

exceed ten percent (10%) above the amount shown in the Budget.

        5.      As adequate protection for the use of Cash Collateral and for any diminution in

value of the Lender’s prepetition collateral as described in the loan documents between the Debtor

and the Lender (the “Pre-petition Collateral”) and post-petition interest, costs, and fees (“Post-

petition Indebtedness”), and as security of the Post-petition Indebtedness, the Lender is hereby

granted a valid, perfected lien upon, and security interest in, to the extent and in the order of priority

of any valid lien pre-petition, all cash generated post-petition by the “Property” (as defined in the

Motion), plus a monthly payment of $3,000, with said payment to reduce the Indebtedness on a

dollar-for-dollar basis..

        6.      Unless waived by the Lender in writing, the Debtor shall immediately cease using

Cash Collateral upon the occurrence of one of the following events (an “Event of Default”):

                a.      If a trustee is appointed in this Chapter 11 Case;

                b.      If the Debtor breaches any term or condition of this Order or any of the
                        Lender’s loan documents, other than defaults existing as of the Petition
                        Date;

                c.      If the Case is converted to a case under Chapter 7 of the Bankruptcy Code;

                d.      If the case is dismissed; or

                e.      If any violation or breach of any provision of this Order occurs.

        7.      If an Event of Default occurs, the Lender shall immediately file with the Court a

Notice of Default. In addition, upon the filing of an appropriate motion, the party that gave such

notice shall be entitled to a hearing on not more than two business days’ notice (subject to the

Court’s docket), which notice period commences the day on which actual service of a notice of an

Event of Default is made by email, fax or by hand delivery on counsel for the Debtor, at which

time the Lender may seek relief, including, without limitation, the following:


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               a.     The lifting of the automatic stay under 11 U.S.C. §362 and permitting the
               Lender to take possession of all or a part of the Prepetition Collateral and Property;

               b.       The abandonment and immediate delivery to the Lender of all or any part
               of the Prepetition Collateral and Property, which the Lender shall be permitted to
               sell in accordance with applicable law, either piecemeal or as a going concern;

               c.     The entry of an order prohibiting or limiting the further use of Cash
               Collateral;

               d.     The appointment of a trustee in either chapter 11 proceeding or the entry of
               an order converting the case to chapter 7, if said request is filed with the Court on
               an expedited basis; and/or

               e.     Such further or other relief as provided in the Lender’s loan documents, the
               Bankruptcy Code, or applicable non-bankruptcy law, including, without limitation,
               accelerating all indebtedness.

       8.      Upon receipt of a notice of an Event of Default, the Debtor shall be entitled to file

an appropriate expedited motion for authority to use Cash Collateral (the “Cash Collateral

Motion”), provided, however, that the Lender shall be given at least two business days written

notice of any hearing (subject to the Court’s docket), which notice period commences the day on

which actual service is made by email, fax or by hand delivery on the respective Counsel for the

Lender, of the Cash Collateral Motion, and the Lender shall be free to oppose the Cash Collateral

Motion and assert any objections available to it under applicable law.

       10.     Payment by the Debtor of expenses other than those set forth in the submitted

Budget attached hereto shall constitute cause to terminate the automatic stay in accordance with

the provisions of this Order unless the Lender consents to those changes in writing. In consenting

to a Budget item in the future or by taking any other actions pursuant to this Order, the Lender

shall not have any liability to any third party and shall not be deemed to be in control of the

operations of the Debtor or to be acting as a “responsible person” with respect to the operation or

management of the Debtor.

       11.    This Order shall be binding on a subsequently appointed Chapter 11 or Chapter 7

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Trustee in Bankruptcy.

       12.     The Lender shall not be subject to the equitable doctrine of “marshaling” or any

other similar doctrine with respect to any Prepetition Collateral, Post-petition Collateral, or

otherwise.

       13.     The liens and security interest granted to the Lender shall be valid and perfected

post-petition without the need for execution or filing of any further documents or instruments

otherwise required to be filed or be executed or filed under non-bankruptcy law.

       14.     The Debtor shall forthwith serve a copy of this Order and the Motion on all parties

and counsel entitled to notice pursuant to Rule 4001(b) of the Federal Rules of Bankruptcy

Procedure.

       15.     Nothing herein shall limit or prejudice the Lender from seeking such other or

further relief or right available in law, under the Code or otherwise.

       16.     The Court shall conduct an _________ hearing on the use of cash collateral of the

Lender on ___________, 2020 at _____a.m./p.m. at the U.S. Bankruptcy Court, 300 North Hogan

Street, Courtroom ___, Jacksonville, Florida 32202.

                                                    ###

Submitted by:
Aaron A. Wernick, Esq.
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Attorneys for the Debtor
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Boca Raton, FL 33431
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e-mail: awernick@furrcohen.com

Aaron A. Wernick, Esq. is directed to serve a conformed copy of this Order on all parties listed on
the official court matrix, and to file a certificate of service conforming to Local Rule 2002-1(f).




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